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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
CORE SCIENTIFIC, INC., et al.,                         §        Case No. 22-90341 (DRJ)
                                                       §
                    Debtors. 1                         §        (Jointly Administered)
                                                       §        Related Docket No. 189

                            NOTICE OF FILING OF REVISED PROPOSED
                            CELSIUS CONTRACTS REJECTION ORDER

                    PLEASE TAKE NOTICE that on December 28, 2022, Core Scientific, Inc. and

its debtor affiliates in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, the “Debtors”), filed the Debtors’ Emergency Motion for Entry of an Order

Authorizing Rejection of Executory Contracts with Celsius Mining, LLC (Docket No. 189)

(the “Rejection Motion”) with a proposed order granting the relief requested in the Rejection

Motion attached thereto as Exhibit A (the “Initial Proposed Order”).

                    PLEASE TAKE FURTHER NOTICE that the Debtors hereby submit a revised

proposed order, attached hereto as Exhibit A (the “Revised Proposed Order”), which

incorporates revisions acceptable to Celsius Mining, LLC and the Debtors.

                    PLEASE TAKE FURTHER NOTICE that a redline of the Revised Proposed

Order marked against the Initial Proposed Order is attached hereto as Exhibit B.




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300, Austin,
    Texas 78704.
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Dated: January 3, 2023
       Houston, Texas
                                   Respectfully submitted,

                                     /s/ Alfredo R. Pérez
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                                   Proposed Attorneys for Debtors
                                   and Debtors in Possession
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                                    Certificate of Service

I hereby certify that on January 3, 2023, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                     /s/ Alfredo R. Pérez
                                                    Alfredo R. Pérez
